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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA

                              CASE NO.: 1:18-cv-03975-SEB-MJD

 SECURITIES AND EXCHANGE COMMISSION,                                            )
                                                                                )
                                       Plaintiff,                               )
                                                                                )
 v.                                                                             )
                                                                                )
 ALAN H. NEW, et al.,                                                           )
                                                                                )
                                       Defendants.                              )
                                                                                )
 __________________________________________________________                     )


                      JUDGMENT AS TO DEFENDANT ALAN H. NEW

        The Securities and Exchange Commission having filed a Complaint and Defendant Alan

 H. New (“New”) having entered a general appearance; consented to the Court’s jurisdiction over

 Defendant and the subject matter of this action; consented to entry of this Judgment without

 admitting or denying the allegations of the Complaint (except as to jurisdiction); waived findings

 of fact and conclusions of law; and waived any right to appeal from this Judgment:

                                                    I.

                             PERMANENT INJUNCTIVE RELIEF

                                                A.
                    Section 5 of the Securities Act of 1933 (“Securities Act”)

        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is

 permanently restrained and enjoined from violating Section 5 of the Securities Act [15 U.S.C. §

 77e] by, directly or indirectly, in the absence of any applicable exemption:

        (a)     Unless a registration statement is in effect as to a security, making use of any means

                or instruments of transportation or communication in interstate commerce or of the


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                mails to sell such security through the use or medium of any prospectus or

                otherwise;

        (b)     Unless a registration statement is in effect as to a security, carrying or causing to

                be carried through the mails or in interstate commerce, by any means or instruments

                of transportation, any such security for the purpose of sale or for delivery after sale;

                or

        (c)     Making use of any means or instruments of transportation or communication in

                interstate commerce or of the mails to offer to sell or offer to buy through the use

                or medium of any prospectus or otherwise any security, unless a registration

                statement has been filed with the Commission as to such security, or while the

                registration statement is the subject of a refusal order or stop order or (prior to the

                effective date of the registration statement) any public proceeding or examination

                under Section 8 of the Securities Act [15 U.S.C. § 77h].

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

 Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

 receive actual notice of this Judgment by personal service or otherwise: (a) Defendant’s officers,

 agents, servants, employees, and attorneys; and (b) other persons in active concert or participation

 with Defendant or with anyone described in (a).




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                                                  B.

           Section 15(a)(1) of the Securities Exchange Act of 1934 (“Exchange Act”)

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant is

 permanently restrained and enjoined from violating, directly or indirectly, Section 15(a)(1) of the

 Exchange Act [15 U.S.C. § 78o(a)(1)] by making use of any means or instrumentality of interstate

 commerce or of the mails and engaging in the business of effecting transactions in securities for

 the accounts of others, or inducing or effecting the purchase and sale of securities, while not

 registered with the Commission in accordance with the provisions of Section 15(b) of the

 Exchange Act, or while not associated with a broker-dealer that was so registered.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

 Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

 receive actual notice of this Judgment by personal service or otherwise: (a) Defendant’s officers,

 agents, servants, employees, and attorneys; and (b) other persons in active concert or participation

 with Defendant or with anyone described in (a).

                                                 II.

         DISGORGEMENT, CIVIL PENALTY AND PREJUDGMENT INTEREST

        Upon motion of the Commission, the Court shall determine whether it is appropriate to

 order disgorgement of ill-gotten gains and/or a civil penalty pursuant to Section 20(d) of the

 Securities Act [15 U.S.C. § 77t(d)] and Section 21(d)(3) of the Exchange Act [15 U.S.C.

 § 78u(d)(3)] and, if so, the amount(s) of the disgorgement and/or civil penalty. If disgorgement

 is ordered, Defendant shall pay prejudgment interest thereon, calculated from December 1, 2017,

 based on the rate of interest used by the Internal Revenue Service for the underpayment of

 federal income tax as set forth in 26 U.S.C. § 6621(a)(2). In connection with the Commission’s



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 motion for disgorgement and/or civil penalties, and at any hearing held on such a motion: (a)

 Defendant will be precluded from arguing that he did not violate the federal securities laws as

 alleged in the Complaint; (b) Defendant may not challenge the validity of the Consent or this

 Judgment; (c) solely for the purposes of such motion, the allegations of the Complaint shall be

 accepted as and deemed true by the Court; and (d) the Court may determine the issues raised in

 the motion on the basis of affidavits, declarations, excerpts of sworn deposition or investigative

 testimony, and documentary evidence, without regard to the standards for summary judgment

 contained in Rule 56(c) of the Federal Rules of Civil Procedure. In connection with the

 Commission’s motion for disgorgement and/or civil penalties, the parties may take discovery,

 including discovery from appropriate non-parties.

                                                 III.

                               INCORPORATION OF CONSENT

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is

 incorporated herein with the same force and effect as if fully set forth herein, and that Defendant

 shall comply with all of the undertakings and agreements set forth therein.

                                                 IV.

                               RETENTION OF JURISDICTION

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall

 retain jurisdiction of this matter for the purposes of enforcing the terms of this Judgment.

                                                  V.

                                 RULE 54(b) CERTIFICATION

        There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

 Procedure, the Clerk is ordered to enter this Judgment forthwith and without further notice.



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                                                     VI.

                         BANKRUPTCY NONDISCHARGEABILITY

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for purposes of

 exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. §523, the

 allegations in the complaint are true and admitted by Defendant, and further, any debt for

 disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant under this

 Judgment or any other judgment, order, consent order, decree or settlement agreement entered in

 connection with this proceeding, is a debt for the violation by Alan H. New of the federal

 securities laws or any regulation or order issued under such laws, as set forth in Section

 523(a)(19) of the Bankruptcy Code, 11 U.S.C. §523(a)(19).




 Dated: ___________________, _____.



                                                  _____________________________
                                                  SARAH EVANS BARKER
                                                  UNITED STATES DISTRICT COURT JUDGE




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